           Case 2:10-cr-00248-JCM-GWF           Document 108        Filed 03/22/12      Page 1 of 3



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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
             v.                                         )
10                                                      )           2:10-CR-248-JCM (GWF)
     RAYMUNDO RODRIGUEZ-JIMENEZ,                        )
11                                                      )
                                                        )
12                         Defendant.                   )

13                          AMENDED FINAL ORDER OF FORFEITURE

14           On February 14, 2011, the United States District Court for the District of Nevada entered a

15   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

16   States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c);

17   Title 21, United States Code, Section 853(a)(1), (a)(2), and (p); and Title 21, United States Code,

18   Section 881(a)(11) and Title 28, United States Code, Section 2461(c), based upon the plea of guilty

19   by defendant Raymundo Rodriguez-Jimenez to a criminal offense, forfeiting specific property

20   alleged in the Indictment and shown by the United States to have a requisite nexus to the offense to

21   which defendant Raymundo Rodriguez-Jimenez pled guilty. (Indictment, ECF No. 16; Change of

22   Plea Minutes, ECF No. 49; Preliminary Order of Forfeiture, ECF No. 50; Plea Memorandum, ECF

23   No. 51).

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           Case 2:10-cr-00248-JCM-GWF             Document 108      Filed 03/22/12       Page 2 of 3



 1           This Court finds the United States of America published the notice of the forfeiture in

 2   accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

 3   consecutively from March 1, 2011, through March 30, 2011, notifying all known third parties of their

 4   right to petition the Court. (Notice of Filing Proof of Publication, ECF No. 60).

 5           This Court finds no petition was filed herein by or on behalf of any person or entity and the

 6   time for filing such petitions and claims has expired.

 7           This Court finds no petitions are pending with regard to the assets named herein and the time

 8   for presenting such petitions has expired.

 9           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

10   title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

11   United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

12   32.2(c)(2); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28, United

13   States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1), (a)(2), and (p); and

14   Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c),

15   and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to law:

16           a) a Star Firestar 45, .45 caliber semiautomatic handgun with serial number 2059799;

17           b) any and all ammunition; and

18           c) an in personam criminal forfeiture money judgment of $12,500.00 in United States

19           currency.

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        Case 2:10-cr-00248-JCM-GWF              Document 108        Filed 03/22/12      Page 3 of 3



 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

 2   funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well

 3   as any income derived as a result of the United States of America’s management of any property

 4   forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of

 5   according to law.

 6          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 7   certified copies to the United States Attorney’s Office.

 8                March
            DATED this    22, 2012.
                       _________ day of _______________, 2012.

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10                                         UNITED STATES DISTRICT JUDGE

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